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                                                                                      FILED




                            United States District Court
                                For The District of Wyoming                      2:53 pm, 12/1/16
                                                                           U.S. Magistrate Judge



BRIAN KEHLER,

                   Plaintiff,

            vs.
                                                          Civil No. 15-CV-127-J
BRIDGESTONE AMERICAS TIRE
OPERATIONS, LLC, COMMERCIAL
TIRE, INC., and JOHN DOE
CORPORATIONS/ENTITIES 1-3,

                  Defendants.


     ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S
            MOTIONS TO STRIKE, DOCS. 79, 100, 101, AND 103


       This matter is before the Court on Defendants’ Motions to Strike, Docs. 79, 100, 101,

and 103. The Court, having carefully considered the Motions, Responses, Replies, expert

designations and accompanying documents, and finds as follows:

                                      BACKGROUND

       This case is before the Court on Plaintiff’s negligence action. Plaintiff Brian Kehler

was an employee of CLR Transportation and was contracted to drive a FedEx tractor trailer.

On November 8, 2014, Plaintiff Brian Kehler was driving a tractor-trailer, owned and

operated by FedEx, on the westbound lanes of Interstate 80 near Cheyenne, Wyoming. At

the same time, a Dodge Caravan was traveling east on Interstate 80 near Cheyenne,

Wyoming. Plaintiff alleges the Bridgestone tire on the FedEx truck failed causing the truck

to crash through a barrier and into the eastbound lanes of Interstate 80. The FedEx truck
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crashed into the Dodge Caravan, killing all three passengers. Plaintiff claims to have also

been injured in the accident. Plaintiff seeks pecuniary and exemplary damages.

                                       RELEVANT LAW

       District courts have broad discretion in determining the admissibility of expert

testimony. Taylor v. Copper Tire & Rubber Co., 130 F.3d 1395, 1397 (10th Cir. 1997). In

utilizing this discretion, the Court will first look to the Federal Rules of Civil Procedure and

the Local Rules of the United States District Court for the District of Wyoming regarding

expert witness designations. Pursuant to the federal and local rules, opposing parties are

entitled to a detailed disclosure of the information that adversarial experts are relying upon in

formulating their expert opinions. Fed. R. Civ. P. 26(a)(2); U.S.D.C.L.R. 26.1(e); Smith v.

Ford Motor Co., 626 F.2d 784, 795-96 (10th Cir. 1980).

       The proponent of the expert testimony bears the burden of proving the foundational

requirements of Rule 702 by a preponderance of the evidence. Daubert v. Merrell Dow

Pharm., Inc., 509 U.S. 579, 592 (1993); Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137,

141, (1999). Rule 702 of the Federal Rules of Evidence requires:

       [a] witness who is qualified as an expert by knowledge, skill, experience,
       training, or education may testify in the form of an opinion or otherwise if: (a)
       the expert’s scientific, technical, or other specialized knowledge will help the
       trier of fact to understand the evidence or to determine a fact in issue; (b) the
       testimony is based on sufficient facts or data; (c) the testimony is the product
       of reliable principles and methods; and (d) the expert has reliably applied the
       principles and methods to the facts of the case.

Fed. R. Evid. 702. Each expert’s opinions are subject to the same standards of reliability that

govern the opinions of strictly scientific experts retained for the purposes of litigation. See

Kumho Tire Co., Ltd., 526 U.S. at 151 (holding Daubert v. Merrell Dow Pharm., Inc., 509

U.S. 579 applies even when an expert’s opinion relies on skill or experience-based

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observation). Rule 702 and Daubert require courts act as gatekeepers by ensuring all expert

testimony, whether scientific, technical, or any other specialized knowledge, is both reliable

and relevant. Kumho Tire Co., Ltd., 526 U.S. at 152-53. In order to make the requisite

findings the court must first determine whether the expert is qualified by knowledge, skill,

experience, training, or education to render an opinion. Second, the court must determine

whether the expert’s opinions are sufficiently reliable. Fed. R. Evid. 702; Kumho Tire Co.,

526 U.S. at 152-53; Ralston v. Smith & Nephew Richards, Inc., 275 F.3d 965, 969 (10th Cir.

2001). Finally, the court must determine whether the proposed expert testimony will assist

the trier of fact. Fed. R. Evid. 702.

       In order to offer expert testimony, an expert’s qualifications may be based on

“knowledge, skill, experience, training, or education.”       Fed. R. Evid. 702.      It is not

paramount that witnesses satisfy all of these qualifications to testify as an expert because a

witness is qualified to testify as an expert so long as the witness’ overall qualifications

provide expertise relevant to the opinions offered. Id. (Advisory Committee Notes, 2000

Amendments); U.S. v. Crabbe, 556 F. Supp. 2d 1217, 1221 (D. Colo. 2008) (citing U.S. v.

Dysart, 705 F.2d 1247, 1252 (10th Cir. 1983)). As a result, Rule 702 is to be liberally

construed in that it “does not impose an ‘overly rigorous’ requirement of expertise,

recognizing that specialized knowledge may be acquired through a broad range of

experience, skills or training.” Squires v. Goodwin, 829 F. Supp. 2d 1041, 1048 (D. Colo.

2011) (citing United States v. Velasquez, 64 F.3d 844, 849 (3d Cir. 1995)). In short, a person

is qualified to offer expert testimony so long as they possess such skill, experience or

knowledge so that the opinion rests on a substantial foundation that will aid the trier of fact.

Id. (citing LifeWise Master Funding v. Telebank, 374 F.3d. 917, 928 (10th Cir. 2004)).

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       Regarding methodology and procedures under Daubert, a court is to find an expert

opinion reliable under Rule 702 if the opinion is based on “good grounds.” In re Paoli R.R.

Yard PCB Litig., 35 F.3d 717, 743 (3d Cir. 1994). Meaning that, if the opinions are based on

methods and procedures of science, they can be admissible regardless of whether the court

thinks the opinions are correct. Id. The court’s focus “must be solely on principles and

methodology, not on the conclusions that they generate.” Id. at 744 (citing Daubert, 509 U.S.

at 595).

       Rule 702 requires the evidence or testimony presented assist “the trier of fact to

understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702. “In assessing

whether testimony will assist the trier of fact, district courts consider several factors,

including whether the testimony is within the juror’s common knowledge and experience,

and whether it will usurp the juror’s role of evaluating a witness’s credibility.” United States

v. Garcia, 635 F.3d 472, 476–77 (10th Cir. 2011) (quoting United States v. Rodriguez–Felix,

450 F.3d 1117, 1123 (10th Cir. 2006)). Any questions about whether an expert’s testimony

will be helpful should be resolved in favor of admissibility.        Unless there are factors

requiring exclusion, such as timing or surprise, the jury is intelligent enough to decipher the

helpful from what is unhelpful in its deliberations. United States v. Gutierrez de Lopez, 761

F.3d 1123, 1136 (10th Cir. 2014) (quoting Robinson v. Missouri Pacific R. Co., 16 F.3d

1083, 1090 (10th Cir. 1994)). Additionally, Rule 702’s “helpfulness” standard requires a

valid scientific connection to the pertinent inquiry as a precondition to admissibility.

Daubert, 509 U.S. at 595. To meet the requisite connection, expert opinions must provide

the underlying facts and basis of the expert’s opinions. “Opinions are valueless as evidence

without exploration of the underlying facts and rationale showing the path from the facts to

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the opinion.” United States v. R.J. Reynolds Tobacco Co., 416 F. Supp. 316, 325 (D.N.J.

1976).

                                    RULING OF THE COURT

Defendants’ Motions to Strike the Fourth Supplemental Disclosure [Doc. 79] and to Exclude
                          opinions of Dennis Ritchie [Doc. 101]

         On August 4, 2016, Plaintiff filed his Fourth Supplemental Expert Disclosure of

Dennis Ritchie. The supplemental disclosure contains two new reports from Mr. Ritchie.

Defendant argues the supplementations are improper and untimely. Plaintiff argues the

supplemental opinions rebut defense experts Mr. Grant and Mr. Queiser designated on July

5, 2016.     Plaintiff further argues the supplements were timely filed rebuttal opinions.

Defendant argues, contrary to Plaintiff’s assertions, these topics were not addressed by Mr.

Grant but were raised by defense expert Mr. Philbrick. Defendants argue the supplements

are untimely since any rebuttal testimony was due thirty days from the May 2, 2016,

designation.

         Mr. Richie’s first supplemental report contains several opinions. Each opinion will be

addressed in turn. Mr. Ritchie’s first opinion states “[b]oth Mr. Queiser’s and Mr. Grant’s

experience as expert witnesses fails to include commercial driver training, qualifications of

drivers, safety management, vehicle controls and systems, commercial vehicle operations

including an expert understanding the FMCSR’s and truck transportation industry customs

and practices.” Expert Report by Dennis Ritchie at 4-5, July 26, 2016. Mr. Ritchie goes on

to provide a short statement concerning Mr. Grant’s and Mr. Queiser’s experience. This is

not proper expert testimony. Mr. Ritchie’s testimony regarding the qualifications of other

experts amounts to attacking the expert’s credibility, not their substantive opinions. See In re


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Cessna 208 Series Aircraft Prod. Liab. Litig., No. 05-MD-1721-KHV, 2009 WL 1649773, at

*1 (D. Kan. June 9, 2009) (“In general, expert opinions which assess or critique another

expert’s substantive testimony are relevant, but opinions which attack an expert’s credibility

(e.g., testimony that an expert is lying) are not.”) (citations omitted). In conducting its

gatekeeping function, the Court must ensure each expert is qualified. It is then up to the jury

to make its own determination regarding methodology, to determine credibility, and to

decide what weight, if any, should be attributed to the testimony. Cook, 580 F. Supp. 2d at

1085. “The credibility of witness testimony is a matter left to the jury and generally is not an

appropriate subject for expert testimony.” Wilson v. Muckala, 303 F.3d 1207, 1218 (10th Cir.

2002) (citing United States v. Adams, 271 F.3d 1236, 1245 (10th Cir. 2001)). Therefore, any

testimony addressing the credibility of the opposing experts is stricken and will not be

allowed.

       Next, Mr. Ritchie’s August 4, 2016, Addendum to Case Report offers his opinion

there is a disconnect between tire manufacturers and tire dealers regarding the

communication that operating commercial tires in excess of the speed rating could lead to

possible tire failure. Mr. Ritchie’s opinion is based upon calls he made to a handful of

commercial truck tire dealers. Mr. Richie contacted six truck tire dealers and asked each

respective sales manager about replacing his Bridgestone 295/75 R 22.5 steer tires.

Although Mr. Ritchie is generally qualified to offer expert testimony in this case, his opinion

regarding the alleged disconnect between tire manufacturers and tire dealers is not reliable.

While there is no single determinative factor to consider when assessing the reliability of an

expert’s opinions, all opinions and testimony “must be properly grounded, well-reasoned,

and not speculative before it may be admitted.” Squires ex rel., 829 F.Supp.2d at 1050

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(internal citations and quotations omitted). Mr. Ritchie’s opinion is speculative and not

based on good grounds. The opinion is based solely on his contact with six out of the

hundreds if not thousands of truck tire dealers across the country. The sample size employed

by Mr. Ritchie is far too small to obtain an adequate representation of the commercial tire

industry.   Additionally, while Mr. Ritchie provides the notes taken by him during his

conversations with each of the six tire dealers, it is difficult to understand the entire

conversation between the parties and what the resulting conversations actually show. This

opinion is based on Mr. Ritchie’s largely unsupported speculation, and not on actual

knowledge or data as required by Rule 702 of the Federal Rules of Civil Procedure. Mr.

Ritchie simply extrapolates the general workings of an entire industry based on nothing more

than his conversations with six tire dealers. This is insufficient to appropriately validate his

opinion. Id. (citing United States v. Frazier, 387 F.3d 1244, 1261 (11th Cir. 2004) (“[I]t

remains a basic foundation for admissibility that the [p]roposed [expert] testimony must be

supported by appropriate validation.”)). Mr. Ritchie’s opinion that there is a disconnect

between tire manufacturers and tire dealers is supported only by the ipse dixit of the expert,

and there is “too great an analytical gap between the data and the opinion proffered.” United

States v. Harry, 20 F. Supp. 3d 1196, 1225–26 (D.N.M. 2014). Therefore, Mr. Ritchie’s

August 4, 2016, Addendum to Case Report is stricken.

       Next, the Court will address the opinions and testimony offered in Mr. Ritchie’s

March 30, 2016, designation. “Rule 702 does not impose an ‘overly rigorous’ requirement

of expertise, recognizing that specialized knowledge may be acquired through a broad range

of experience, skills or training. The trial court should not exclude expert testimony simply

because the court feels that the proffered witness is not the most qualified or does not have

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the specialization considered most appropriate by the court.”          Ross v. Rothstein, 92

F.Supp.3D 1041, 1072–73 (D. Kan. 2015).

       Much like the testimony of BATOs designated expert Mr. Philbrick, the Court finds

that while Mr. Ritchie does not directly offer opinions specifically addressing accident

reconstruction, vehicle dynamics, human factors, and tire science, he does utilize and

incorporate these areas into his opinions. Mr. Ritchie formed his opinions based on his

experience, education, training, review of pertinent documents, the available testimony and

opinions provided by others, the Federal Motor Carrier Safety Rules, and industry customs

and practices. Mr. Ritchie is qualified to offer this proposed testimony. Mr. Ritchie has an

impressive resume, which will not be restated here but is incorporated by reference. This

includes over twenty-five years of experience working in and around the commercial

trucking industry.    Mr. Ritchie’s experience involves claims analysis, investigations,

commercial driver employment, training, and operating procedure, along with dealing with

Federal Regulations and industry standards.

       Next, Mr. Ritchie expressly identifies the underlying basis utilized in reaching his

opinions. In re Paoli R.R. Yard PCB Litig., 35 F.3d 717. This is sufficient to satisfy the

Federal Rules since a court’s focus is solely on the “principles and methodologies, and not on

the conclusions generated.” Vondrak v. City of Las Cruces, 671 F. Supp. 2d 1239, 1244

(D.N.M. 2009) (citations omitted). Any disagreement with the methodology and underlying

factual support does not render testimony inadmissible. Mr. Ritchie sufficiently sets forth his

opinions and the corresponding basis of each opinion as required under Rule 26(a)(2)(B).

This allows Defendants and Defendants’ expert the ability to analyze and assess the

credibility of Mr. Ritchie’s findings. Defendants’ concerns go to the weight of the evidence,

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not its admissibility. These concerns are best addressed through cross examination, rebuttal

expert testimony, and presentation of contrary evidence since questions surrounding an

expert’s use of the best or most reliable methodologies are for a jury to decide. Cook, 580 F.

Supp. 2d at 1085. The Court will not usurp the role of the jury by making a determination

regarding the accuracy of Mr. Ritchie’s findings. Mr. Ritchie’s opinions are admissible since

they are based on identified principles and methodology and the Court will not make a

determination as to the ultimate conclusions reached. In re Paoli R.R. Yard PCB Litigation,

35 F.3d at 742.

       As a result, Mr. Ritchie will be allowed to testify as designated, with the exceptions

already discussed above. Mr. Ritchie’s education, training, and experience and his identified

methodologies are sufficient to allow him to offer such testimony. While Mr. Ritchie’s

expertise may be helpful in explaining and comparing the standards and practices in the

trucking industry to Plaintiff’s conduct, the jury is more than capable of drawing their own

conclusion as to what caused the crash. It is up to the discretion of the finder of fact to listen

to the information presented and apply the information to the facts presented at trial.

       Lastly, the Court will address opinions numbers 2, 3, and 4 contained in Mr. Ritchie’s

first supplemental report dated July 26, 2016. While this is a close call and the questioned

testimony does rebut the opinions of Mr. Philbrick, there is a sufficient nexus between Mr.

Grant’s and Mr. Quiesar’s testimony to allow the rebuttal testimony. Specifically, the topics

of all the experts, including Mr. Grant, Mr. Quiesar, Mr. Philbrick, and Mr. Ritchie, are

sufficiently intertwined with the commercial trucking industry to allow the rebuttal

testimony. Therefore, opinions 2, 3, and 4 of the July 26, 2016, supplemental report are

allowed.

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        Defendants’ Motion to Limit Expert Testimony of Dennis Carlson [Doc. 100]

       Defendants seek to strike Mr. Carlson’s opinions concerning alleged defects with the

steel belt joints, alleged adhesion defects evidenced by liner pattern marks, and claimed

deficiencies in Defendant’s warnings.      Defendants assert Mr. Carlson is a professional

witness who only criticizes tire manufacturers as evidenced by the numerous courts that have

excluded his testimony. Mr. Carlson opines a joint or splice in one of the tire’s four steel

belts is overlapped, and claims the splice caused the tire to separate. Defendants argue this

opinion is not supported by any evidence or testing, and that even Mr. Carlson himself

admits the separation happened in a different level in the tire. Next, Defendants argue Mr.

Carlson’s methodology used to reach the conclusion the tire exhibited poor adhesion is only

supported by what he calls liner pattern marks in the steel belt rubber is without support and

unrecognized by the scientific community. Lastly, Defendants argue Mr. Carlson is not

qualified to offer the opinion that Defendant’s speed restriction warnings were inadequate.

Defendants claim Mr. Carlson’s methodology and resulting conclusions are subjective,

untested, and without support from any recognized community of tire experts. Defendants

also request a Rule 104(a) hearing to further assess the issue if necessary.

       In Response, Plaintiff argues the methodologies employed by Mr. Carlson are

essentially the same as those utilized by all tire failure experts, and Defendants’ arguments

go to weight and not admissibility. Plaintiff contends Mr. Carlson is amply qualified to

testify as proposed, and argue he utilizes reliable and identified methodologies in reaching

his conclusions.

       To begin, Defendants’ request for a hearing to further address the issues raised in the

instant Motion is denied. Local Rule 7.1(a) provides for hearings on a motion at the Court’s

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discretion, and district courts are granted “discretion to limit the information upon which it

will decide the Daubert issue.” Ho v. Michelin N. Am., Inc., 520 F. App’x 658, 664 (10th

Cir. 2013) (citation omitted). The Court finds no formal hearing is necessary as the parties

have provided expert reports, deposition transcripts, and all necessary evidence is currently

before the Court.

       Next, Defendants do not seek to strike all of Mr. Carlson’s testimony, only his

opinions dealing with alleged defects in the steel belt joints, adhesion defects, and alleged

deficiencies in warnings. Defendants also do not question Mr. Carlson’s qualification to

testify in general, only his qualifications regarding warnings. A careful review of Mr.

Carlson’s report and curriculum vita show he is qualified to testify generally as a tire failure

expert. However, Mr. Carlson lacks the requisite knowledge, skill, experience, training or

education to testify as an expert regarding tire warnings. See Magoffe v. JLG Indus., Inc.,

No. CIV060973MCA/ACT, 2008 WL 2967653, at *22 (D.N.M. May 7, 2008) (“a witness’

general credentials as an engineer do not qualify him or her to offer expert opinions about the

adequacy of warnings or directions for a product, unless he or she can demonstrate other

specialized knowledge regarding the communication of warnings”). “The proponent of

expert testimony bears the burden of showing that its proffered expert’s testimony is

admissible.” Ralston v. Smith & Nephew Richards, Inc., 275 F.3d 965, 970 n. 4 (10th Cir.

2001). Mr. Carlson issued an affidavit in Response to the Motion to Strike and states that

“[a]lthough my experience and education qualifies me to offer these opinions, the opinions

regarding the duty of Bridgestone to warn consumers of the danger of driving a tire over the

speed rating is one of common sense.” Affidavit of Dennis Carlson Sept. 15, 2016, at ¶ 72,

ECF No. 142-1 Sept. 16, 2016. However, in Mr. Carlson’s unrefuted deposition testimony

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he admits he is not a warnings expert, and has no experience writing or evaluating warnings.

Deposition of Dennis Carlson July 12, 2016, at 219-220, Sept. 2, 2016, ECF No. 100-2. Mr.

Carlson relies upon his general expertise as a tire expert in support of his opinions regarding

warnings. This is insufficient. Mr. Carlson lacks the necessary experience, training, or

education to offer testimony regarding the sufficiency of any warnings or lack of warnings.

Plaintiff’s assertion of general experience fails to tie Mr. Carlson’s qualifications to this

particular opinion and is insufficient to carry the burden of establishing his qualifications

regarding warnings. Further, Mr. Carlson’s assertion that the duty to warn regarding speed

ratings is “one of common sense” supports striking this testimony since it is the duty of the

jury to listen to the evidence, and then make a determination regarding the culpability of any

actions or inaction. Mr. Carlson’s opinions regarding the sufficiency of and identifying

alternative warning options falls outside his area of expertise and would not assist the jury.

       Next, the Court will address Mr. Carlson’s opinions regarding steel belt joints and

adhesion defects together. Defendants question the methodologies utilized by Mr. Carlson in

reaching these two specific opinions, but do not question his general methodologies for the

forensic inspection and analysis of failed tires. The Court agrees with Defendants assertion.

Mr. Carlson’s general methodology in conducting the tire failure analysis is the type

typically employed by other similarly situated experts and is based on good grounds.

However, Mr. Carlson’s opinions that the alleged “dog ear” splice and adhesion defect

caused the tire to fail are not supported by good grounds. A “dog ear” splice is an overlap in

one of the tire’s four steel belts. The “dog ear” splice at issue here is in the tire’s number one

belt, but the tire separation here did not occur at this belt. Rather, Mr. Carlson opines the tire

separation occurred between the number 2 and 3 belts at a point nearly 90 degrees around the

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tire from the “dog ear” splice. The adhesion defect claimed by Mr. Carlson is that the tread

belts exhibited reduced adhesion because of insufficient bonding during the manufacture of

the tire. Mr. Carlson states this defect is apparent by the liner pattern marks in the failure

surface of the tire. Mr. Carlson claims these two defects worked together to cause the tire

failure. Affidavit of Dennis Carlson Sept. 15, 2016, at ¶ 76, ECF No. 142-1 Sept. 16, 2016.

       Mr. Carlson fails to cite any meaningful support for this assertion. Mr. Carlson does

not cite any scientific support for his opinion that the “dog ear” splice at issue could

contribute to a tires separation in another belt. Mr. Carlson does cite to studies conducted by

David Southwell, an expert in a different case. This does not constitute good grounds. Mr.

Southwell’s testimony is not directly on point, and Mr. Carlson fails to show how Mr.

Southwell’s opinions or findings support his conclusions. Similarly, Mr. Carlson fails to

provide the requisite good grounds for his adhesion defect opinion. Mr. Carlson cites to an

article and the opinions of David Southwell, but again Plaintiff fails to identify how the cited

testimony supports Mr. Carlson’s opinions.

       Mr. Carlson’s opinions that these two defects caused the tire failure are not reliable as

they lack the explanatory and necessary building blocks in support of his conclusions. This

opinion is only connected to the existing data and facts of this case by the ipse dixit of the

expert. General Electric Co. v. Joiner, 522 U.S. 136, 146 (1997). Mr. Carlson has the

requisite experience, education, and training to testify as an expert. Those credentials alone

however do not support the opinions in question. Mr. Carlson fails to provide any analysis or

scientifically supported methodology linking the materials reviewed to his opinions

regarding the “dog ear” and adhesion defect theories to the tire separation in this case.

“[T]here is simply too great an analytical gap between the data and the opinion proffered.”

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Id. Based on the preceding analysis, Mr. Carlson’s opinions concerning alleged defects with

the steel belt joints, alleged adhesion defects evidenced by liner pattern marks, and claimed

deficiencies in Defendant’s warnings are stricken.       Mr. Carlson may still offer expert

testimony consistent with his designation not addressed in this Motion.

       Defendants’ Motion to Exclude Certain Opinions of Dr. Ogden [Doc. 103]

       Plaintiff designated Dr. Jerry Ogden as an accident reconstruction expert to offer

testimony regarding the factors contributing to the crash and other issues related to the crash.

Defendants argue Dr. Ogden’s opinions regarding an imbalanced caster and the fracture of

the steering knuckle spline are not supported by any scientific basis or cognizable

methodology. While Defendants do not directly question Dr. Ogden’s qualifications, the

Court finds Dr. Ogden is qualified by his knowledge, experience, training, and education to

offer expert testimony in this case. Dr. Ogden has an extensive resume and is a professional

engineer with over twenty-five years’ experience as a forensic engineer. Over that span Dr.

Ogden has conducted numerous vehicle collision reconstructions, including investigating the

failure of automotive components. Courts have held the standard to determine whether a

witness is qualified to testify as an expert should be construed and applied liberally. See

United States v. Gomez, 67 F.3d 1515, 1526 (10th Cir. 1995). Under that standard, Dr.

Ogden is qualified to offer expert testimony as contained in his designation. Additionally,

Dr. Ogden’s testimony is relevant and helpful as his knowledge, skill, and experience will

help the jury understand the evidence and make determinations regarding factual issues

pertinent to the claims and defenses raised in this case. Fed. R. Evid. 702. Namely, Dr.

Ogden’s testimony directly relates to Defendants assertion that even after the tire deflation

Plaintiff maintained sufficient control over the tractor that he should have been able to avoid

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the collision.

       Defendants’ concerns with Dr. Ogden’s testimony are based in his methodology, or

alleged lack thereof.   Defendants argue his identified testimony should be excluded as

unreliable and untested. District Courts maintain broad discretion in deciding “how to assess

an expert’s reliability, including what procedures to utilize in making that assessment, as

well as in making the ultimate determination of reliability.” Dodge v. Cotter Corp., 328 F.3d

1212, 1223 (10th Cir. 2003). In assessing the reliability of scientific evidence the testimony

must be based on valid methodology and be properly applied to the facts of the case.

Daubert, 509 U.S. 592-593.        This “requires the judge to assess the reasoning and

methodology underlying the expert's opinion, and determine whether it is scientifically valid

and applicable to a particular set of facts.” Goebel v. Denver & Rio Grande Western R.R.

Co., 215 F.3d 1083, 1087 (10th Cir. 2000). The party offering expert testimony “need not

prove that the expert is undisputably correct or that the expert’s theory is ‘generally

accepted’ in the scientific community” rather the proponent of the expert “must show that the

method employed by the expert in reaching the conclusion is scientifically sound and that the

opinion is based on facts which sufficiently satisfy Rule 702’s reliability requirement.”

Mitchell v. Gencorp, Inc., 165 F.3d 778, 781 (10th Cir. 1999) (citations omitted). “[T]he

court’s ‘gatekeeping’ responsibilities under Rule 702 do not turn on the ‘correctness’ of an

expert’s opinions.” Squires ex rel., 829 F.Supp.2d 1055. A court is to find an expert opinion

reliable under Rule 702 if the opinion is based on “good grounds.” In re Paoli R.R. Yard

PCB Litigation, 35 F.3d at 743. The party offering expert testimony “need not prove that the

expert is undisputedly correct or that the expert’s theory is ‘generally accepted’ in the

scientific community” rather the proponent of the expert “must show that the method

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employed by the expert in reaching the conclusion is scientifically sound and that the opinion

is based on facts which sufficiently satisfy Rule 702’s reliability requirement.” Mitchell v.

Gencorp, Inc., 165 F.3d 778, 781 (10th Cir. 1999) (citations omitted). The focus is solely on

the “principles and methodologies, and not on the conclusions generated.” Vondrak v. City

of Las Cruces, 671 F. Supp. 2d 1239, 1244 (D.N.M. 2009) (citations omitted).

       Dr. Ogden provides a detailed description of his underlying methodology in his report

and in his affidavit [Doc. 153-3]. Dr. Ogden responded to the crash scene within several

hours where he inspected the scene, took photographs, took measurements, and examined the

physical evidence including the tractor and its steering components. Dr. Ogden sufficiently

explains his opinions regarding the alleged imbalanced caster and the fracture of the steering

mechanism. Specifically, Dr. Ogden reached his opinions by utilizing his years of education,

training, and experience and applying it to the facts and evidence of this case. Dr. Ogden

asserts it is a basic engineering principal that loss of pneumatic pressure on a tire instantly

changes the geometry of the steering system, and claims it is not necessary and not possible

to know the exact caster angle before or after the tire deflation. Dr. Ogden observed the

physical evidence present at the scene, including the tire marks. In reaching his opinions

regarding the fracture of the steering column, Dr. Ogden analyzed all evidence available to

him to try and determine the cause of the failure.         Dr. Ogden relies heavily on the

documented physical evidence, namely photographs, to support his findings. Whether his

conclusions are correct or not, the clearly described methodologies of Dr. Ogden are

scientifically sound and based on facts. This is sufficient to satisfy Rule 702’s reliability

requirements. Kechi Tp. V. Freightliner, 592 Fed. Appx. 657, 671 (10th Cir. 2014)).

       Defendants’ concerns go to the weight of the evidence, not its admissibility. The

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Court will not usurp the role of the jury by making a determination regarding the accuracy of

Dr. Ogden’s findings. Defendants may cross examine and offer evidence in order to make

clear any alleged deficiencies in Dr. Ogden’s testimony. This allows the jury to make its

own determination regarding methodology, to determine credibility, and to decide what

weight, if any, should be attributed to the testimony. Cook, 580 F. Supp. 2d at 1085.

                                        CONCLUSION

       This case involves the interpretation of numerous factual and legal issues upon which

a jury will ultimately decide. The bulk of the testimony at issue in the instant Motions is

relevant and reliable, as it is based on good grounds. However, the multitude of experts

creates numerous potential conflicts with Local Rule 26.1(e)(1) that limits parties to the

designation of one expert to testify for each particular field of expertise. Even though each

expert brings a different expertise and point of view, both parties are limited to offering one

expert to testify regarding each specific topic. The parties are to make a determination as to

which expert will best address their specific concerns and trial strategy since the Court will

not allow an expert to testify in order to bolster, or offer the same or substantially similar

testimony as any other expert. Any attempt to provide duplicative, cumulative, or other

inappropriate testimony will be excluded.

       The majority of the issues raised by the instant Motions are best addressed through

cross examination, rebuttal expert testimony, and presentation of contrary evidence whereby

the trier of fact will determine what weight, if any, should be attributed to expert opinions.

Once expert testimony has been deemed reliable “it is up to the jury to decide whether the

expert used the best or most reliable methodology, what weight to accord to his testimony

and which of competing experts' opinions should be credited.” Cook, 580 F. Supp. 2d at

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1085. Therefore, the Court will allow the experts to testify subject to the stated limitations.

Any further rulings on individual objections are left to the sound discretion of the District

Court at trial.

        THEREFORE, IT IS ORDERED Defendant’s Motions to Strike, Docs. 79, 100, 101,

and 103 are GRANTED IN PART and DENIED IN PART.

        IT IS FURTHER ORDERED that the parties proceed as outlined above.

        Dated this 1st day of December, 2016.
                                                   ___
                                                     ________ __________________
                                                   ________________________________
                                                   Kelly H
                                                         H. R ankin
                                                            Rankin
                                                   U.S. Magistrate Judge




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